    Case 1:18-cv-00632-RJJ-PJG ECF No. 24 filed 09/13/18 PageID.214 Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN
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JOHN HEYKOOP D/B/A EAGLE TOWING,

        Plaintiff,                                     Case No.: 1:18-cv-00632

v                                                      Hon. Robert J. Jonker

JEFFREY WHITE and CHRIS MCINTIRE.                      Mag. Phillip J. Green

Defendants.
__________________________________________/

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 13, 2018, I electronically filed this Certificate of

Service with the Clerk of the Court using the ECF system, and I served Plaintiff’s First Requests

for Discovery via first-class mail to the following address.

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                                                          s/John S. Brennan
                                                          John S. Brennan
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